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  Exchange of expert disclosures completed by:
  (Presumptively 30 days after fact discovery)

  Expert depositions completed by:
  (Presumptively 30 days after initial expert disclosures)

  Exchange of rebuttal expert reports by:
  (Presumptively 30–45 days after initial expert disclosures)

  All expert discovery completed by:

  CERTIFICATION OF THE COMPLETION OF ALL
  DISCOVERY BY:
  (Presumptively 9 months after Initial Conference)

  Final date to take first step in dispositive motion practice:
  (Parties are directed to consult the District Judge’s Individual Rules regarding such
  motion practice. Presumptively 30 days after completion of all discovery.)

  Do the parties wish to be referred to EDNY’s mediation
                                                                                          Yes          No
  program pursuant to Local Rule 83.8?

  Do the parties consent to trial before a Magistrate Judge
  pursuant to 28 U.S.C. § 636(c)?
  (The fillable consent form may be found at                                              Yes          No
  https://www.uscourts.gov/forms/civil-forms/notice-consent-and-reference-civil-
  action-magistrate-judge. Consenting does not affect a party’s right to a jury trial.)



 SO ORDERED:


 ________________________                                                             ________________________
 TARYN A. MERKL                                                                       DATE
 United States Magistrate Judge
